*Case 4:23-cv-00095-AWA-RJK Document 1-3 Filed 07/14/23 Page 1 of 1 PagelD# 11/2/20, 10:09 pm

Subject: Fwd: Many questions

Get Outlook for iOS

 

From: Martin Wilcox <martin.wilcox@na-atlas.com>
Sent: Wednesday, August 14, 2019 6:32:11 PM

To: mps smith <mps1561 @hotmail.com>

Subject: RE: Many questions

Melinda,

I'm sorry for being such a poor correspondent, but we’ve been very busy here with new product
development that has nothing to do with cruise ships. We’ve been taken over by Thyssen-Krupp,a
very large German company, and they don’t want us to do anything until a patent is obtained. The
patent has been submitted and the patent lawyers told us that the waiting list for first review in the
patent office is now 18 months to two years! It was very disappointing, to say the least, as that is

only the first review! | hope I’m still alive at that point as | had my 79!" birthday in July!
Until we hear from the patent office I’m afraid there is nothing more that | can do.

Marty

Martin H. Wilcox

Principal Research Engineer

Atlas North America/Marine Sonic Technology
120 Newsome Drive, Suite H

Yorktown, VA 23692-1309

Martin. Wilcox @na-atlas.com
www.marinesonic.com

From: mps smith <mps1561 @hotmail.com>
Sent: Wednesday, August 14, 2019 1:59 PM

To: Martin Wilcox <martin.wilcox @ na-atlas.com>
Subject: Many questions

Good afternoon Marty. | am assuming this is still a good email address for you. Would you have a
chance sometime soon to give me a quick call. | have many questions that | need to ask... about
patent, flying to Germany or Miami, NDA , who is involved, etc. my cell is 804-815-3345. Thank
you! | could talk to Sergio if your time does not allow. Melinda

Get Outlook for iOS

CONFIDENTIALITY STATEMENT: The information in this e-mail is confidential and may be legally
privileged. It is intended for the use only of the addressee. If you have received this
communication in error, be advised that any dissemination of the email or its attachments is

https://outlook.live.com/mail/0/search/id/AQMkKADAWAT ZiZMYAZC1...kzrnIZNAAAAgEJAAAAZHvKy%2BqxaUuqoukzrnizNAADxF9VDgAAAA%3D%3D Page 2 of 3
